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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Brian Whitaker                            Case No.

12               Plaintiff,
                                                 Complaint For Damages And
13        v.                                     Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     Intermix Holdco, Inc., a Delaware         Act; Unruh Civil Rights Act
       Corporation
15
                 Defendant.
16
17
           Plaintiff Brian Whitaker complains of Intermix Holdco, Inc., a Delaware
18
     Corporation; and alleges as follows:
19
20
        PARTIES:
21
        1. Plaintiff is a California resident with physical disabilities. He is
22
     substantially limited in his ability to walk. He suffers from a C-4 spinal cord
23
     injury. He is a quadriplegic. He uses a wheelchair for mobility.
24
        2. Defendant Intermix Holdco, Inc. owned Intermix located at or about
25
     3333 Bristol St, Costa Mesa, California, in December 2020.
26
        3. Defendant Intermix Holdco, Inc. owns Intermix (“Store”) located at or
27
     about 3333 Bristol St, Costa Mesa, California, currently.
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 1      4. Plaintiff does not know the true names of Defendants, their business
 2   capacities, their ownership connection to the property and business, or their
 3   relative responsibilities in causing the access violations herein complained of,
 4   and alleges a joint venture and common enterprise by all such Defendants.
 5   Plaintiff is informed and believes that each of the Defendants herein is
 6   responsible in some capacity for the events herein alleged, or is a necessary
 7   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
 8   the true names, capacities, connections, and responsibilities of the Defendants
 9   are ascertained.
10
11      JURISDICTION & VENUE:
12      5. The Court has subject matter jurisdiction over the action pursuant to 28
13   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
14   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
15      6. Pursuant to supplemental jurisdiction, an attendant and related cause
16   of action, arising from the same nucleus of operative facts and arising out of
17   the same transactions, is also brought under California’s Unruh Civil Rights
18   Act, which act expressly incorporates the Americans with Disabilities Act.
19      7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
20   founded on the fact that the real property which is the subject of this action is
21   located in this district and that Plaintiff's cause of action arose in this district.
22
23      FACTUAL ALLEGATIONS:
24      8. Plaintiff went to the Store in December 2020 with the intention to avail
25   himself of its goods and to assess the business for compliance with the
26   disability access laws.
27      9. The Store is a facility open to the public, a place of public
28   accommodation, and a business establishment.


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 1      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 2   to provide wheelchair accessible tables in conformance with the ADA
 3   Standards as it relates to wheelchair users like the plaintiff.
 4      11. The Store provides tables to its customers but fails to provide any
 5   wheelchair accessible tables.
 6      12. A couple of problems that plaintiff encountered is the lack of sufficient
 7   knee or toe clearance under the table for wheelchair users. Additionally, the
 8   table was too low. Tables are available for customers to congregate around but,
 9   because there are no accessible tables, the plaintiff is unable to enjoy the same
10   privileges.
11      13. Plaintiff believes that there are other features of the tables that likely fail
12   to comply with the ADA Standards and seeks to have fully compliant tables for
13   wheelchair users.
14      14. On information and belief, the defendants currently fail to provide
15   wheelchair accessible tables.
16      15. These barriers relate to and impact the plaintiff’s disability. Plaintiff
17   personally encountered these barriers.
18      16. As a wheelchair user, the plaintiff benefits from and is entitled to use
19   wheelchair accessible facilities. By failing to provide accessible facilities, the
20   defendants denied the plaintiff full and equal access.
21      17. The failure to provide accessible facilities created difficulty and
22   discomfort for the Plaintiff.
23      18. The defendants have failed to maintain in working and useable
24   conditions those features required to provide ready access to persons with
25   disabilities.
26      19. The barriers identified above are easily removed without much
27   difficulty or expense. They are the types of barriers identified by the
28   Department of Justice as presumably readily achievable to remove and, in fact,


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 1   these barriers are readily achievable to remove. Moreover, there are numerous
 2   alternative accommodations that could be made to provide a greater level of
 3   access if complete removal were not achievable.
 4      20. Plaintiff will return to the Store to avail himself of its goods and to
 5   determine compliance with the disability access laws once it is represented to
 6   him that the Store and its facilities are accessible. Plaintiff is currently deterred
 7   from doing so because of his knowledge of the existing barriers and his
 8   uncertainty about the existence of yet other barriers on the site. If the barriers
 9   are not removed, the plaintiff will face unlawful and discriminatory barriers
10   again.
11      21. Given the obvious and blatant nature of the barriers and violations
12   alleged herein, the plaintiff alleges, on information and belief, that there are
13   other violations and barriers on the site that relate to his disability. Plaintiff will
14   amend the complaint, to provide proper notice regarding the scope of this
15   lawsuit, once he conducts a site inspection. However, please be on notice that
16   the plaintiff seeks to have all barriers related to his disability remedied. See
17   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
18   encounters one barrier at a site, he can sue to have all barriers that relate to his
19   disability removed regardless of whether he personally encountered them).
20
21   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
22   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
23   Defendants.) (42 U.S.C. section 12101, et seq.)
24      22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
25   again herein, the allegations contained in all prior paragraphs of this
26   complaint.
27      23. Under the ADA, it is an act of discrimination to fail to ensure that the
28   privileges, advantages, accommodations, facilities, goods and services of any


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 1   place of public accommodation is offered on a full and equal basis by anyone
 2   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 3   § 12182(a). Discrimination is defined, inter alia, as follows:
 4            a. A failure to make reasonable modifications in policies, practices,
 5               or procedures, when such modifications are necessary to afford
 6               goods,     services,   facilities,   privileges,     advantages,   or
 7               accommodations to individuals with disabilities, unless the
 8               accommodation would work a fundamental alteration of those
 9               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
10            b. A failure to remove architectural barriers where such removal is
11               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
12               defined by reference to the ADA Standards.
13            c. A failure to make alterations in such a manner that, to the
14               maximum extent feasible, the altered portions of the facility are
15               readily accessible to and usable by individuals with disabilities,
16               including individuals who use wheelchairs or to ensure that, to the
17               maximum extent feasible, the path of travel to the altered area and
18               the bathrooms, telephones, and drinking fountains serving the
19               altered area, are readily accessible to and usable by individuals
20               with disabilities. 42 U.S.C. § 12183(a)(2).
21      24. When a business provides facilities such as tables, it must provide
22   accessible tables.
23      25. Here, accessible tables have not been provided in conformance with the
24   ADA Standards.
25      26. The Safe Harbor provisions of the 2010 Standards are not applicable
26   here because the conditions challenged in this lawsuit do not comply with the
27   1991 Standards.
28      27. A public accommodation must maintain in operable working condition


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 1   those features of its facilities and equipment that are required to be readily
 2   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 3      28. Here, the failure to ensure that the accessible facilities were available
 4   and ready to be used by the plaintiff is a violation of the law.
 5
 6   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 7   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 8   Code § 51-53.)
 9      29. Plaintiff repleads and incorporates by reference, as if fully set forth
10   again herein, the allegations contained in all prior paragraphs of this
11   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
12   that persons with disabilities are entitled to full and equal accommodations,
13   advantages, facilities, privileges, or services in all business establishment of
14   every kind whatsoever within the jurisdiction of the State of California. Cal.
15   Civ. Code §51(b).
16      30. The Unruh Act provides that a violation of the ADA is a violation of the
17   Unruh Act. Cal. Civ. Code, § 51(f).
18      31. Defendants’ acts and omissions, as herein alleged, have violated the
19   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
20   rights to full and equal use of the accommodations, advantages, facilities,
21   privileges, or services offered.
22      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
23   discomfort or embarrassment for the plaintiff, the defendants are also each
24   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
25   (c).)
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 1          PRAYER:
 2          Wherefore, Plaintiff prays that this Court award damages and provide
 3   relief as follows:
 4       1. For injunctive relief, compelling Defendants to comply with the
 5   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 6   plaintiff is not invoking section 55 of the California Civil Code and is not
 7   seeking injunctive relief under the Disabled Persons Act at all.
 8       2. Damages under the Unruh Civil Rights Act, which provides for actual
 9   damages and a statutory minimum of $4,000 for each offense.
10       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
11   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
12
     Dated: January 19, 2021          CENTER FOR DISABILITY ACCESS
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16                                    By: _______________________
17                                           Russell Handy, Esq.
                                             Attorney for plaintiff
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